

	
	
	
	2019 Opinions – Supreme Court of Georgia




		
		
		
		
				

		
		
		
		
		

									
									
		




























		
	

	


	Skip to content
				
		
		
			
				
					

	
							
				HomeFAQContact UsTwitter			
			


 
	
		
							
			

						
			

			
					
		

			
					
	

								
							
		
		
		
			
				
					
	
	
		
			Court InformationCourtClerk’s OfficeDirectionsHolidaysHistoryToursAttend Oral ArgumentsWatch Oral ArgumentsMediaPurchase Certificates, Opinions and DVD’sEmployment OpportunitiesNews and ReportsBiographiesChief Justice Harold D. MeltonPresiding Justice David E. NahmiasJustice Robert BenhamJustice Keith R. BlackwellJustice Michael P. BoggsJustice Nels S.D. PetersonJustice Sarah H. WarrenJustice Charles J. BethelJustice John J. EllingtonCertificates &amp; ReportsLaw School Graduate CertificateReciprocity/Court of Last Resort CertificatesLegal Education Committee ReportQuick LinksAttorney AdmissionsDomestic Relations CasesLegal WebsitesPauper’s AffidavitOral Argument Calendar2019 Summaries of Cases2018 Summaries of Cases2017 Summaries of Cases2016 Summaries of CasesDocketGranted and Denied Petitions2019 Granted2019 Denied2018 Granted2018 Denied2017 Granted2017 DeniedGranted Applications2019 Interlocutory2018 Interlocutory2017 InterlocutoryOpinionsForthcoming Opinions2019 Opinions2018 Opinions2017 OpinionsRulese-fileRule 3.15 FormSuperior Court Rule 39.3.1 Information


					
	
 
				
				
			
					
		
		
					
				
		
					
	
		
			

																			2019 Opinion and Summaries

									
				
			

										
		
	

				
				
			

					
			2019 OpinionsWeb Editor2019-03-13T14:01:12+00:00						
				
					
						DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.
March
March 13, 2019

S18G0524. HOUSING AUTHORITY OF THE CITY OF AUGUSTA v. GOULD
S18A1073. DEBELBOT v. THE STATE
S18Q1233. FEDERAL DEPOSIT INSURANCE CORPORATION v. LOUDERMILK et al.

March
March 11, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0364. TYNER v. MATTA-TRONSCOSO et al.
S18G0517. FIRST ACCEPTANCE INSURANCE COMPANY OF GEORGIA, INC. v. HUGHES
S18G0563. LICATA v. THE STATE
S18A1052. YARN v. THE STATE
S18A1074, S18A1075. ESPRIT v. THE STATE (two cases)
S18A1090. THE STATE v. ROSENBAUM et al.
S18A1137. THE STATE v. TEDDER
S18A1158. THE STATE v. SPRATLIN
S18A1282. BROOKS v. THE STATE
S18A1295. WARE v. THE STATE
S18A1321. DENNARD v. THE STATE
S18A1467. WEST v. THE STATE
S18A1562. JOHNSON v. THE STATE
S19A0180. COAST v. THE STATE
S19A0430. BLAINE v. THE STATE
S19Y0337-S19Y0340. IN THE MATTER OF NEIL LARSON (four cases)
S18Z1232. IN THE MATTER OF LAJUAN MIGUEL CERTION

&nbsp;
March
March 4, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0756. CHAPPUIS et al. v. ORTHO SPORT &amp; SPINE PHYSICIANS SAVANNAH, LLC
S18G1033. HANHAM et al. v. ACCESS MANAGEMENT GROUP, LP
S18A1045. MCCORD v. THE STATE
S18A1071. TYNER v. THE STATE
S18A1121. CONLEY v. PATE
S18A1156. FULTON COUNTY v. CITY OF ATLANTA et al.
S18A1211. PARK v. THE STATE
S18A1273. OVERTON v. THE STATE
S18A1322. CHAMBERS v. HALL, WARDEN
S18A1396. CARTWRIGHT v. CALDWELL
S18A1394. FAVORS v. THE STATE
S18A1491. PRICE v. THE STATE
S18A1593. BECK v. THE STATE
S18A1598. JACKSON v. THE STATE
S18A1609. STANFORD v. THE STATE
S18A1610. CROUCH v. THE STATE
S19A0296. TUGGLE v. THE STATE
S19Y0552. IN THE MATTER OF ALVIS MELVIN MOORE


February
February 18, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S17G2011. BELLSOUTH TELECOMMUNICATIONS, LLC et al. v. COBB COUNTY et al.
S18G0695, S18G0696. BISHOP v. GOINS et al. (two cases)
S18A1030. IVEY v. THE STATE
S18A1048. RILEY v. THE STATE
S18A1060. GRANT v. THE STATE
S18A1204. ELLIOTT v. THE STATE
S18A1231. WYNO v. LOWNDES COUNTY
S18A1234. WINTERS v. THE STATE
S18A1252. BEASLEY v. THE STATE
S18A1275. THE STATE v. JOHNSON
S18A1299. BENTON v. THE STATE
S18A1428. GOODSON v. THE STATE
S18A1429. MOORE v. THE STATE
S18A1440. ROBERTS v. THE STATE
S18A1445. BATTLE v. THE STATE
S18A1519. MILLER v. THE STATE
S18A1538, S18A1539. VIRGER v. THE STATE (two cases)
S18A1622, S18X1623. MORGAN COUNTY v. MAY (and vice versa)


February
February 4, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0078. LA FONTAINE v. SIGNATURE RESEARCH, INC.
S18G0365. WHITE v. THE STATE
S18G0493, S18G0499. STATE OF GEORGIA v. INTERNATIONAL INDEMNITY COMPANY et al. (two cases)
S18A1031. McKELVIN v. THE STATE
S18A1145. McDANIEL v. THE STATE
S18A1154. BIRDOW v. THE STATE
S18A1209. FLANNIGAN v. THE STATE
S18A1221. WAINWRIGHT v. THE STATE
S18A1302. CURRY v. THE STATE
S18A1425. GROGAN v. CITY OF DAWSONVILLE
S18A1464. HOLLMAN v. THE STATE
S18A1468. YOUNG v. THE STATE
S18A1512. THE ANTHEM COMPANIES, INC. et al. v. CHERYL WILLS et al.
S18A1559. THE STATE v. HANNA
S19Y0498. IN THE MATTER OF JACK S. JENNINGS

January
January 22, 2019&nbsp;–&nbsp;SUMMARIES for NOTEWORTHY OPINIONS

S18G0146. PLUMMER v. PLUMMER
S18A1040. MONDRAGON v. THE STATE
S18A1195. SOLOMON v. THE STATE
S18A1208. MIMS v. THE STATE
S18A1212. WORTHEN v. THE STATE
S18A1215. RINGOLD v. THE STATE
S18A1236. CHAVERS v. THE STATE
S18A1307. DE LA HERNANDEZ v. THE STATE
S18A1328. RICHARDSON v. THE STATE
S18A1340. THOMPSON v. THE STATE
S18A1357. MCDONALD v. THE STATE
S18A1391. KENNEDY, WARDEN v. HINES
S18A1434. JORDAN v. THE STATE
S18A1589. PARKER v. THE STATE
S18A1629. BARNES v. THE STATE
S19A0039. STROZIER v. THE STATE
S19A0153. BISHOP v. HALL, WARDEN
S19Y0266. IN THE MATTER OF HEATHER E. JORDAN
S19Y0455. IN THE MATTER OF NATHAN E. HARDWICK, IV
S19Y0466. IN THE MATTER OF SHANNON DEWAYNE PATTERSON


January
January 7, 2019

S19Y0028. IN THE MATTER OF SAMUEL WILLIAMS, JR
S19Y0122. IN THE MATTER OF MELODY YVONNE CHERRY



					
				
							
																													
		
					
				  
			  
			
			
			
										
				
						
	
		
			
				
																									
							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
Directions
																					
																										
							Quick LinksForthcoming Opinions
Docket Search
Watch Oral Arguments
Media
Purchase
Rule 3.15 Form
Rule 3.15 Search
																					
																										
							Oral Argument CalendarCurrent Monthmarch 2019Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, #606, Atlanta GA 30334
										
				19mar10:00 am4:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, #606, Atlanta GA 30334
										
				20mar10:00 am1:00 pmOral Argumentsapril 2019Oral Arguments
									
										Mercer University School of Law
										
											1021 Georgia Ave, Macon, GA 31207
										
				12apr10:00 am1:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, #606, Atlanta GA 30334
										
				16apr10:00 am4:00 pmOral ArgumentsView&nbsp; Calendar
																					
																										
											News and Reports		
											
					2/22/2019 – COMMITTEE TO PREVENT SEX HARASSMENT NAMED
									
											
					2/19/2019 – STATE OF THE JUDICIARY
									
					
		View All News and Reports
																					
																											
				
			 
		 
	 

	
	
		
			

				
		
		© 2019 Supreme Court of Georgia All Rights Reserved | Privacy | E-Verify ID	


			 
		 
	 
				 

									 

								

						
						
									
																			
							
								
									X
									 
								
														
						
					
					








































































































































	
